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 7   Attorneys for Plaintiffs
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                                UNITED STATES DISTRICT COURT
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                            SOUTHERN DISTRICT OF CALIFORNIA
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     MATTHEW JONES, et al.,              )             Case No.: 3:19-cv-01226-L-AHG
11                                       )
                   Plaintiffs,                         Hon. M. James Lorenz and Magistrate Judge
12                                       )             Allison H. Goddard
     v.                                  )
13                                       )             PLAINTIFFS NOTICE OF MOTION AND
     ROB BONTA, in his official                        MOTION FOR LEAVE TO AMEND
14   capacity as Attorney General of the )
                                         )             COMPLAINT; OR IN THE
     State of California, et al.,1                     ALTERNATIVE, MOTION TO ADD
15                                       )
                                         )             INDIVIDUAL PLAINTIFFS VIA
16   Defendants.                                       PERMISSIVE JOINDER
                                         )
17                                       )             Date: March 20, 2023
18                                       )             Time: 10:30 a.m.
                                         )             Place: Courtroom 5B (Fifth Floor)
19                                       )
20                                       )             Second Amended Complaint Filed: Nov. 8,
     ____________________________ )                    2019
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22                                                    No oral argument will be heard pursuant to local
                                                      rules unless ordered by the Court
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26      Rob Bonta is automatically substituted for his predecessor, Xavier Becerra, as
     California Attorney General, and Allison Mendoza is automatically substituted for her
27
     predecessors, former Directors Louis Lopez and Martin Horan, and former Acting
28   Directors Brent E. Orick and Blake Graham. Fed. R. Civ. P. 25(d).

          Plaintiffs Notice of Motion and Motion For Leave to Amend the Complaint; or in The Alternative, Motion to Add
                                                                           Individual Plaintiffs Via Permissive Joinder
 1   To All Parties and Their Attorneys of Record:
 2            PLEASE TAKE NOTICE that on March 20, 2023, at 10:30 a.m., or as soon
 3   thereafter as the matter may be heard, before the Honorable M. James Lorenz,
 4   Courtroom 5B (Fifth Floor), United States District Court, Southern District of
 5   California, Edward J. Schwartz Courthouse, 221 West Broadway, San Diego,
 6   California, Plaintiffs Matthew Jones, et al., through their counsel of record, and
 7   pursuant to Civil Local Rules 7.1 and 7.2, hereby move the Court for leave to allow
 8   Plaintiffs to file the attached Plaintiff’s Third Amended Complaint solely for purposes
 9   of adding two new individual Plaintiffs, all under the age of 21, pursuant Federal
10   Rules of Civil Procedure Rule 15(a)(2); or in the alterative, permit the addition of the
11   two new individual Plaintiffs through permissive joinder under Federal Rules of Civil
12   Procedure Rule 20. Defendants have stipulated not to oppose Plaintiffs’ motion.
13         Good cause exists to grant leave for Plaintiffs to file their Third Amended
14   Complaint. Additionally, the factors the Court is to consider in deciding whether to
15   grant leave to amend a complaint pursuant to Federal Rules of Civil Procedure Rule
16   15(a)(2) support this Court’s decision to allow such amendment; and Defendants have
17   stipulated not to oppose Plaintiffs’ filing of the motion; and such request was made
18   before the February 17, 2023, deadline for amending pleadings. Plaintiffs have filed
19   this motion in good faith and without undue delay; and the proposed amendment is
20   limited in nature to ensuring standing of all Plaintiffs; and therefore, it would not be
21   futile to grant this pending motion.
22         Alternatively, if this Court deems it more appropriate to consider Plaintiffs
23   request to add individual Plaintiffs under Federal Rules of Civil Procedure Rule 20
24   (permissive joinder of parties), then Plaintiffs submit that the two new individual
25   Plaintiffs satisfy the two-prong test allowing for permissive joinder because the new
26   Plaintiffs’ right to relief arises out of the same transaction or occurrence and presents a
27   common question of law or fact; and is in the interests of justice.
28         This Motion is based on this Notice of Motion and Motion, the Memorandum
                                             1
          Plaintiffs Notice of Motion and Motion For Leave to Amend the Complaint; or in The Alternative, Motion to Add
                                                                           Individual Plaintiffs Via Permissive Joinder
 1   of Points and Authorities in Support thereof, the Stipulation allowing such
 2   amendment, the Declaration of John W. Dillon in Support of Plaintiffs’ Motion
 3   Seeking Leave to File Plaintiffs’ Third Amended Complaint, and on such other
 4   documents and pleadings filed before the motion is heard.
 5
 6   February 16, 2023                                Respectfully submitted,
 7                                                    DILLON LAW GROUP APC
 8                                                    Attorneys for Plaintiffs
 9                                                    By:       /s/ John W. Dillon

10                                                              John W. Dillon

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          Plaintiffs Notice of Motion and Motion For Leave to Amend the Complaint; or in The Alternative, Motion to Add
                                                                           Individual Plaintiffs Via Permissive Joinder
